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                        EXHIBIT 6
Case: 1:19-cv-01610 Document #: 276-7 Filed: 11/16/21 Page 2 of 62 PageID #:5360


From:             Wahl, Suzanne L.
To:               Robert A. Braun; Brandon Boulware; Bierig, Jack R.; chuck.hatfield@stinsonleonard.com
Cc:               matt@williamsdirks.com; Jeremy Suhr; Courtney Stout
Subject:          RE: Sitzer ESI Proposal
Date:             Friday, May 1, 2020 2:02:20 PM
Attachments:      image001.png
                  image002.png
                  2020.05.01 - Search Terms - as agreed.XLSX


Robby,

We agree to make that change to Search 45.

With this, we believe we’re in agreement with respect to the search terms (attached) and
the custodian list (below). Can you confirm?

Thanks,

Suzanne

***
NAR CUSTODIAN LIST

   1.   Andrew Scoulas
   2.   Chris Harrigan
   3.   Clifford Niersbach
   4.   Diane Mosley
   5.   Jeremy Green
   6.   Kate Lawton
   7.   Katherine Goldberg
   8.   Kevin Milligan
   9.   Rene Galicia
  10.   Rodney Gansho
  11.   Charles Dawson
  12.   Bob Goldberg
  13.   Dale Stinton
  14.   Katie Johnson
  15.   Lawrence Yun
  16.   Sarah Young
  17.   Marc Gould
  18.   Jessica Lautz
  19.   Victoria Gillespie



From: Robert A. Braun [mailto:RBraun@cohenmilstein.com]
Sent: Thursday, April 30, 2020 8:11 PM
To: Wahl, Suzanne L. <SWahl@schiffhardin.com>; Brandon Boulware <Brandon@boulware-
law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Case: 1:19-cv-01610 Document #: 276-7 Filed: 11/16/21 Page 3 of 62 PageID #:5361


Subject: [EXT] RE: Sitzer ESI Proposal

Suzanne,

We agree to the adjustments you reference in the paragraph beginning with “[f]irst,” with only one
exception. As you’re aware, the FTC’s jurisdiction includes competition-related issues; accordingly,
we had not intended to delete the term “*@ftc.gov”. As you note, we did agree to delete the term
“Federal Trade Commission,” though not due to its irrelevance, but in order to reach a reasonable
compromise in response to NAR’s objection that ““Federal Trade Commission” AND Commission”
was hitting on an especially large number of documents. Consistent with this, we understand that
NAR likewise did not delete “*@ftc.gov” in its prior search term proposal.

Additionally, as Brandon’s prior email stated, the search term and custodian proposals to NAR are
made on behalf of both the Moehrl and Sitzer plaintiffs with the intent that they be applicable to
both cases (subject to the reservations in the last paragraph of Brandon’s email).

Finally, I have confirmed with Brandon that the only outstanding issue between the Sitzer Plaintiffs
and NAR for the May 6, 2020 status conference is the Sitzer Plaintiffs’ interrogatory concerning
third-party CIDs.

Regards,
Robby


From: Wahl, Suzanne L. <SWahl@schiffhardin.com>
Sent: Thursday, April 30, 2020 6:45 PM
To: Brandon Boulware <Brandon@boulware-law.com>; Robert A. Braun
<RBraun@cohenmilstein.com>; Bierig, Jack R. <JBierig@schiffhardin.com>;
chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: RE: Sitzer ESI Proposal

Brandon and Robby,

Subject to the comments below, NAR agrees to plaintiffs’ proposed search terms as
amended in the attached document. NAR also agrees to the custodian list in your most
email – with the deletion of Mr. Lombardi.

As you will see, NAR’s edits to plaintiffs’ proposed search terms are intended only to correct
errors. We do not believe that they should be controversial. If you disagree, please let us
know as soon as possible. For the avoidance of doubt, we have set out the agreed custodian
list below. This said, our comments are set forth below.

First, if you have any additional changes to propose, we request that you provide us with a
document showing the changes between this version and your proposal. It appears that you
reformatted several searches in this version, which required additional time-consuming
review on our end, introduced syntax errors that we had to correct and rerun, incorporated
at least one revision of an agreed-upon change, and appears to have (inadvertently, we
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assume) deleted eight search strings.

      When you recombined Search 28, you reverted the search string to its earlier form
      that you had agreed to modify. Specifically, in your April 6, 2020 email, you had
      agreed to remove the portion of the string that included “realtor w/10 schedule”, but
      your latest version reincorporates what you had agreed to remove. We assume that
      this was an error and have, therefore, added “(agent* or broker*) w/10 schedule” as
      a separate string. If you intend to stand on this change, please let us know, and
      direct us to any other substantive changes you have made in the search terms.
      In order to properly use the “and not” connector in Search 12, we broke out the
      protect* w/5 search string.
      You appear to have deleted all of the strings associated with Search 14 other than the
      one with the “cheat” root. We would be happy to delete these but assume this was an
      error and have added them back.
      You also appear to have deleted the deposition* search term from Search 4. Again,
      we would be happy to delete this but assume it was an error and have added it back.
      We also noticed that Search 45 still has *@ftc.gov, when all the other FTC search
      strings were removed. We believe this was an oversight when we made the post-meet
      and confer changes after Robby indicated that we could remove all the FTC and
      “federal trade commission” terms. Accordingly, we have deleted the search term.
      We removed duplicative “or” connectors in Searches 3 and 42.
      We corrected parentheses issues in Searches 4 and 28.1.
      We added missing quotation marks in Searches 53, 64, 73 and 507.
      Search 21 was missing the “w” in “w/10.”

Second, with respect to Search 15, we discussed removing this search on our April 16 meet
and confer. Robby stated that he would think about agreeing to remove it. That is why we
included it on our list of proposed changes. We understand that you have now decided to
reject that change. Therefore, the attached search term list includes Search 15 with the
limiter as provided in your April 27 search term proposal.

Third, we agree that we have previously discussed a “go get” approach to searches 2, 81,
83, 87, 88 and 95, rather than including them as search term documents. We note that
there are still open issues to be discussed on these points, including with respect to burden,
especially with respect to searching the HUB, and to scope (e.g., confirmation from you of
which publications plaintiffs are requesting).

Fourth, as we have said before, NAR reserves the right to edit these search terms with
respect to the custodians that NAR has not yet collected and tested, as these search terms
may return irrelevant or burdensome results. Our understanding is that plaintiffs agree to
negotiate in good faith with regard to any edits.

Fifth, other than our dispute regarding disclosure of the identity of recipients of DOJ CIDs,
we are not aware of other disputed discovery issues -- assuming that we have reached
agreement on search terms, custodians, and the time period for discovery. If you are
aware of other currently existing disputes, please identify them for us.

Finally, on our meet and confer on April 23, Robby agreed to confirm in writing that, with
respect to NAR, the Moehrl plaintiffs agree that the agreed upon Sitzer search terms and
custodians will also be the agreed-upon search terms and custodians for the Moerhl case,
understanding that the Moehrl plaintiffs may later seek additional discovery if subsequent
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discovery indicates that additional search terms or custodians are necessary. Robby, please
confirm this understanding in writing.

At this time, we believe the only open item that NAR and the Sitzer plaintiffs will have for
the May 6, 2020 status conference is the disclosure of the identity of recipients of third
party DOJ CIDs. Please let us know if you disagree.

Thanks,

Suzanne

***
NAR CUSTODIAN LIST

   1.   Andrew Scoulas
   2.   Chris Harrigan
   3.   Clifford Niersbach
   4.   Diane Mosley
   5.   Jeremy Green
   6.   Kate Lawton
   7.   Katherine Goldberg
   8.   Kevin Milligan
   9.   Rene Galicia
  10.   Rodney Gansho
  11.   Charles Dawson
  12.   Bob Goldberg
  13.   Dale Stinton
  14.   Katie Johnson
  15.   Lawrence Yun
  16.   Sarah Young
  17.   Marc Gould
  18.   Jessica Lautz
  19.   Victoria Gillespie



From: Brandon Boulware [mailto:Brandon@boulware-law.com]
Sent: Monday, April 27, 2020 10:17 PM
To: Wahl, Suzanne L. <SWahl@schiffhardin.com>; Robert A. Braun <RBraun@cohenmilstein.com>;
Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: [EXT] RE: Sitzer ESI Proposal

Jack and Suzanne -

Pursuant to the Sitzer Court’s April 6, 2020 Order, attached is a search term counter-proposal
to NAR, which is offered on behalf of both the Sitzer and Moehrl Plaintiffs. As discussed on
last Thursday’s call, we request that NAR closely review the attached search term proposal, so
that if there are any discrepancies or errors (e.g., it appears that the term “senat*” in Search 6
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had previously been misspelled), the parties are able to quickly resolve them in advance of the
upcoming status conference in the Sitzer case. We understand that Plaintiffs and NAR have
agreed to each element of the attached search term proposal, with the following exceptions:

      Search 18
      Search 47
      Search 71
      Search 15 [NAR appears to have unilaterally omitted this search from its April 22 hit
      reports despite the absence of an agreement by the parties, or even a prior proposal by
      NAR, to do so]

With respect to Search 15, as reflected in the attached spreadsheet, we are willing to accept
NAR’s previously proposed limiter. Additionally, as previously discussed, Plaintiffs have
agreed to the removal of certain strings (and/or terms from otherwise agreed strings) on the
condition that NAR conduct a reasonable search for relevant documents in its central files—
e.g., Searches 2, 81, 83, 87, 88, and 95.

Plaintiffs also propose the following NAR custodians for the Sitzer and Moehrl suits:

      Andrew Scoulas
      Chris Harrigan
      Clifford Niersbach
      Diane Mosley
      Jeremy Green
      Kate Lawton
      Katherine Goldberg
      Kevin Milligan
      Rene Galicia
      Rodney Gansho
      Charles Dawson
      Bob Goldberg
      Dale Stinton
      Katie Johnson
      Lawrence Yun
      Sarah Young
      Marc Gould
      Jessica Lautz
      Victoria Gillespie
      Matthew Lombardi

We understand that NAR has agreed to each of the above custodians, with the exception of
Matthew Lombardi. We believe that Mr. Lombardi is likely to possess relevant and
responsive documents (including due to his senior roles as staff executive for the Strategic
Thinking Advisory Committee, manager of NAR’s member and consumer communications
and marketing, and supervisor over major NAR conferences, meetings, and events).
Nevertheless, in an effort to compromise, if NAR will agree without further revision to
Plaintiffs’ attached search term counter-proposal, Plaintiffs will agree to remove Mr.
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Lombardi from our custodian list. Otherwise, Plaintiffs intend to move forward with seeking
Mr. Lombardi’s inclusion among NAR’s custodians.

Finally, in negotiating search terms and custodians, Plaintiffs have relied on NAR’s
representations as to the custodians and search terms likely to retrieve relevant and responsive
documents. Plaintiffs reserve all rights to seek additional custodians and search terms if
appropriate, including based on new information that comes to light or should Plaintiffs learn
that NAR failed to disclose relevant custodians and search terms. Additionally, and per our
discussions, the Sitzer Plaintiffs understand that the parties’ agreements on search terms,
custodians, and post-complaint discovery, and the Court’s recent ruling on pre-limitations
discovery, have resolved or will resolve all objections with respect to discovery (excluding
“go get” documents), except as to privilege and work product. Please advise us if NAR
intends to maintain any non-privilege objections with respect to discovery.

Thank you.

Brandon Boulware | Attorney
Boulware Law
1600 Genessee, Suite 416
Kansas City, Missouri 64102
brandon@boulware-law.com
O: (816) 492-2826
C: (816) 590-1882




From: Wahl, Suzanne L. <SWahl@schiffhardin.com>
Sent: Wednesday, April 22, 2020 12:07 PM
To: Robert A. Braun <RBraun@cohenmilstein.com>; Brandon Boulware <Brandon@boulware-
law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: RE: Sitzer ESI Proposal

Hi Robby and Brandon,

Pursuant to the Court’s April 6 2020 Order and our agreement to extend the time for our
response until April 22, NAR proposes the attached search term list.

We also attach two hit reports. The first reflects the changes we discussed in our Thursday
April 16 to Searches 3, 4, 7, 8, 12, 14, 15 (which was removed in its entirety), 25, 28, 31,
42 and 45. We have renumbered the “broken out” search terms as 3.001, 3.002, etc. for
ease of reference and to avoid any errors in trying to recombine the broken out searches
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into one term. The edits are shown in red in the Excel file.
      In Search 3, we removed expens*, outlook, and share.
      In Search 4, we removed prosecut*, subpoena* and probe*.
      In Search 7, we changed analys* to analysis or analyses; share* to share or shares;
      MLS w/10 to data to MLS w/5 data; and deleted MLS w/10 report.
      In Search 8, we removed outlook.
      In Search 12, we changed deter* to deter, deters, etc.; market* to market or
      markets; and added and “AND NOT” term to remove false hits for links.
      In Search 14, we added the w/50 limiter and added fee or fees; and we changed
      cheat* to cheat, cheats, etc.
      We removed Search 15.
      In Search 25, we removed share and searches that overlapped with Search 3.
      In Search 28, we changed w/10 income to w/4 income.
      In Search 31, we replaced compet* with compete, competes, etc.
      In Search 42, we added a limiter to manipulat* that included commission, price, fee,
      compensation.
      In Search 45, we removed FTC or federal trade commission.

The second reflects proposed additional changes to the following search terms; the edits are
shown in green in the Excel file.

      Add a w/10 market limiter to Search 7.002 (MLS w/10 (share or shares)). This search
      term is still returning a significant number of unique hits, even with the alteration. On
      our meet and confer, you all stated that you wanted to include this search term to
      find discussions about MLS market share. Our preliminary review of this search term
      is that it hits for discussions about sharing information or materials with MLSs. Adding
      the term “market” makes it more likely that this search term will return the results
      you are seeking, instead of extraneous documents.
      Change Search 7.007 (MLS w/5 data) to “MLS data”. Our preference would be to
      remove this search term entirely, as our initial review is primarily returning
      documents that do not appear to be relevant. However, in the interest of compromise,
      we propose changing the search to “MLS data.”
      Change Search 18 to remove the term “requir*.” On our meet and confer, you stated
      that any document that states a requirement of participation in NAR or an MLS or a
      local association is potentially evidence of market power and should be reviewed. We
      disagree with this assertion. Moreover, the search term is pulling in “requirements”
      that are clearly irrelevant to the case and to plaintiffs’ theory of market power – about
      lockboxes standards, the timing to request a hearing under MLS rules, etc. We
      propose removing the term “requir*” to avoid pulling in these types of results.
      Add a w/10 (commission* or compensation*) limiter to Search 47. We do not agree
      that any mention of antitrust compliance or analysis unrelated to the facts of this case
      are relevant. Further, these search terms are likely to generate a significant number
      of privileged documents, requiring additional burdensome review.
      Change Search 71 to remove the term “requir*”, for the same reasons as Search 18.

As we said on the call, NAR reserves the right to edits these search terms with respect to
the custodians that NAR has not yet collected and tested, as these search terms may return
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irrelevant or burdensome results. Our understanding is that plaintiffs agree to negotiate in
good faith with regard to any edits.

For custodians, NAR made its last proposal on April 8 and reattaches it here for
convenience.

Please let us know when you would like to discuss. We are available for a call this week on
Thursday between 2 and 3:30 pm central.

Thanks,

Suzanne



From: Wahl, Suzanne L.
Sent: Wednesday, April 15, 2020 10:31 AM
To: 'Robert A. Braun' <RBraun@cohenmilstein.com>; Brandon Boulware <Brandon@boulware-
law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: RE: Sitzer ESI Proposal

Hi Robby and Brandon

Here are the hit reports for the proposed search terms as modified by Robby’s April 6 email,
as well as the requested “broken up” versions of certain search strings.

I am still reviewing the broken out search results, so I do not have proposals to share at
this point.

Thanks,

Suzanne

From: Robert A. Braun [mailto:RBraun@cohenmilstein.com]
Sent: Monday, April 13, 2020 11:12 AM
To: Wahl, Suzanne L. <SWahl@schiffhardin.com>; Brandon Boulware <Brandon@boulware-
law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: [EXT] RE: Sitzer ESI Proposal

Thanks Suzanne. We appreciate it.


From: Wahl, Suzanne L. <SWahl@schiffhardin.com>
Sent: Monday, April 13, 2020 11:11 AM
To: Robert A. Braun <RBraun@cohenmilstein.com>; Brandon Boulware <Brandon@boulware-
law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Case: 1:19-cv-01610 Document #: 276-7 Filed: 11/16/21 Page 10 of 62 PageID #:5368


Subject: RE: Sitzer ESI Proposal

Yes. I will have the hit reports for you by Wednesday morning.

I am also working on proposals for changes based on the search terms that were broken
out, though I may not be able to have all of those to you by Wednesday morning.

From: Robert A. Braun [mailto:RBraun@cohenmilstein.com]
Sent: Monday, April 13, 2020 11:08 AM
To: Brandon Boulware <Brandon@boulware-law.com>; Wahl, Suzanne L.
<SWahl@schiffhardin.com>; Bierig, Jack R. <JBierig@schiffhardin.com>;
chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: [EXT] RE: Sitzer ESI Proposal

Jack and Suzanne,

I’m also available during those times. To ensure that the call is productive, it would be helpful to
receive any hit report(s) at least 24 hours in advance. Is NAR in a position to do that?

Regards,
Robby


From: Brandon Boulware <Brandon@boulware-law.com>
Sent: Monday, April 13, 2020 10:59 AM
To: Wahl, Suzanne L. <SWahl@schiffhardin.com>; Bierig, Jack R. <JBierig@schiffhardin.com>;
chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>; Robert A. Braun <RBraun@cohenmilstein.com>
Subject: RE: Sitzer ESI Proposal

Those times work for me. Robby?

Brandon Boulware | Attorney
Boulware Law
1600 Genessee, Suite 416
Kansas City, Missouri 64102
brandon@boulware-law.com
O: (816) 492-2826
C: (816) 590-1882
Case: 1:19-cv-01610 Document #: 276-7 Filed: 11/16/21 Page 11 of 62 PageID #:5369




From: Wahl, Suzanne L. <SWahl@schiffhardin.com>
Sent: Monday, April 13, 2020 9:15 AM
To: Brandon Boulware <Brandon@boulware-law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>;
chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>; Braun, Robert (Cohen Milstein Sellers & Toll PLLC)
<rbraun@cohenmilstein.com>
Subject: RE: Sitzer ESI Proposal

Hi Brandon,

We’re available Thursday April 16 at 9-10 central or 2-4 central. Does that work for your
team?

Thanks,

Suzanne

From: Brandon Boulware [mailto:Brandon@boulware-law.com]
Sent: Friday, April 10, 2020 6:40 PM
To: Bierig, Jack R. <JBierig@schiffhardin.com>; Wahl, Suzanne L. <SWahl@schiffhardin.com>;
chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>; Braun, Robert (Cohen Milstein Sellers & Toll PLLC)
<rbraun@cohenmilstein.com>
Subject: [EXT] Sitzer ESI Proposal


 CAUTION: External email.




Jack and Suzanne –

Pursuant to the Court’s April 6, 2020 Order, the Sitzer Plaintiffs propose the attached search
term list. The parties have met and conferred regarding search terms on multiple occasions,
and our intention is to incorporate the agreed-upon modifications into the proposed search
terms. Those modifications are not reflected in the attached list, but have been memorialized
in multiple emails not attached here.
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With respect to custodians, the parties have made good strides at agreeing on a custodian list. I
believe the attached email reflects our most recent back-and-forth on the subject.

We look forward to continue working with NAR to finalize search terms and custodians. To
that end, please let us know your availability next week for a meet/confer.

Thank you.

Brandon Boulware | Attorney
Boulware Law
1600 Genessee, Suite 416
Kansas City, Missouri 64102
brandon@boulware-law.com
O: (816) 492-2826
C: (816) 590-1882




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-------------------------------------------------------------------
  Case: 1:19-cv-01610 Document #: 276-7 Filed: 11/16/21 Page 13 of 62 PageID #:5371



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      ϭ ΗŶŽƚƚŽďĞĚŝƐĐůŽƐĞĚΗ
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        ΗƐĂůĞƐƉƌŝĐĞΗŽƌΗĂƐŬŝŶŐƉƌŝĐĞΗŽƌΗĚĂǇƐŽŶ
        ŵĂƌŬĞƚΗŽƌůĂďŽƌͿǁͬϱ;ĚĂƚĂŽƌƐƚĂƚŝƐƚŝĐΎŽƌ
        ƌĞĐŽƌĚΎŽƌƐƵŵŵĂƌΎŽƌƌĞƉŽƌƚΎŽƌƚƌĞŶĚΎŽƌ
        ƐĐĂůĞΎŽƌĨŽƌĞĐĂƐƚΎŽƌƐƚƵĚǇŽƌƐƚƵĚŝĞƐŽƌ
      ϯ ĂŶĂůǇƐΎŽƌƐƚƌĂƚĞŐǇΎͿ

        ƌĂŝĚŽƌƌĂŝĚƐŽƌΗĐŝǀŝůŝŶǀĞƐƚŝŐĂƚŝǀĞĚĞŵĂŶĚΗŽƌ
        ;/ǁͬϯ;K:ŽƌũƵƐƚŝĐĞͿͿŽƌ;ŝŶǀĞƐƚŝŐΎǁͬϭϬ
      ϰ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶͿͿŽƌĚĞƉŽƐŝƚŝŽŶΎ

        ;;ĞƐƚƌŽǇΎŽƌĚĞůĞƚΎŽƌĚŝƐĐĂƌĚΎŽƌďƵƌŶΎŽƌ
        ĚĞƐƚƌƵĐƚΎŽƌĚŝƐƉŽƐΎŽƌƉƌĞƐĞƌǀΎŽƌƌĞƚĂŝŶΎŽƌ
        ƌŝĚΎŽƌĞůŝŵΎͿǁͬϯ;ĨŝůĞΎŽƌĚŽĐƵŵĞŶƚΎŽƌ
        ƐĞƌǀĞƌΎŽƌĐŽŵƉƵƚĞƌΎŽƌΎŵĂŝůΎŽƌƉĂƉĞƌΎŽƌ
        ĐŽƉǇŽƌĐŽƉŝĞƐŽƌĚĂƚĂŽƌďŝŶĚĞƌΎŽƌĂĨƚĞƌŽƌ
        ƌĞĂĚΎŽƌĞǀŝĚĞŶĐĞŽƌŵĞƐƐĂŐĞΎŽƌƚĞǆƚΎŽƌŶŽƚĞΎ
        ŽƌĞŵĂŝůΎŽƌŝŶĨŽƌŵĂƚΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌ
      ϱ ŵƐŐΎͿͿǁͬϮϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶͿ

           ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϯϬ;ůŽďďǇΎ
           ŽƌůĂǁΎŽƌŽŶŐƌĞƐƐΎŽƌůĞŐŝƐůĂƚΎŽƌƐƚĂƚƵƚĞΎŽƌ
           ŵĂƌŬĞƚŝŶŐŽƌΗƉƵďůŝĐƌĞůĂƚŝŽŶΎΗŽƌƐĞŶĂƚΎŽƌ
      ϲ    ΎΛŚŽƵƐĞ͘ŐŽǀΎŽƌΎΛƐĞŶĂƚĞ͘ŐŽǀΎͿ
           ;ƐƚƌĂƚĞŐΎŽƌĂŶĂůǇƐŝƐŽƌĂŶĂůǇƐĞƐŽƌƐƚƵĚǇΎŽƌ
       ϳ   ƐƚƵĚŝĞƐŽƌƐƚĂƚŝƐƚŝĐΎͿǁͬϭϬD>^
     ϳ͘ϭ   D>^ǁͬϭϬ;ƐŚĂƌĞŽƌƐŚĂƌĞƐͿǁͬϭϬŵĂƌŬĞƚ
     ϳ͘Ϯ   ΗD>^ĚĂƚĂΗ

        ;ƉƌŝĐΎŽƌƉƌŽĨŝƚΎŽƌĐŽƐƚΎŽƌƌĞǀĞŶƵĞΎŽƌŵĂƌŐŝŶΎ
        ŽƌůŽƐƐΎŽƌƐƵƉƉůǇŽƌƐĂůĞΎŽƌĚĞŵĂŶĚΎŽƌ
        ĐĂƉĂĐŝƚǇŽƌǀŽůƵŵĞΎͿǁͬϱ;ŵĂŶƵĂůΎŽƌƌĞƉŽƌƚΎ
        ŽƌĨŽƌĞĐĂƐƚΎŽƌƉƌŽũĞĐƚΎŽƌĞƐƚŝŵĂƚĞΎŽƌĂĐƚƵĂůΎ
      ϴ ŽƌƐƚĂƚŝƐƚŝĐΎŽƌƚƌĞŶĚΎͿ
        ;^ĞĐƌĞƚŽƌƐĞĐƌĞĐǇŽƌƵŶŽĨĨŝĐŝĂůͿǁͬϱ;ŵĞĞƚΎŽƌ
        ĚŝƐĐƵƐƐΎŽƌĐŽŶĨĞƌĞŶĐΎŽƌĐĂůůΎŽƌŵƚŐŽƌƐĞƐƐŝŽŶ
      ϵ ŽƌƌĞƉŽƌƚΎŽƌŝŶĨŽΎŽƌƐƚƌĂƚĞŐǇΎͿ
     ϭϬ ;ĐŽŵŵŝƐƐŝŽŶΎĂŶĚďŽĂƌĚŽĨĚŝƌĞĐƚŽƌƐͿ
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       ;;ďƌŽŬĞƌŽƌƌĞĂůƚŽƌΎŽƌĂŐĞŶƚΎͿǁͬϱ
ϭϬ͘ϭ ĐŽŵƉĞŶƐĂƚŝŽŶĂŶĚΗďŽĂƌĚŽĨĚŝƌĞĐƚŽƌƐΗͿ
       ;ƌĞƐƚƌŝĐƚΎŽƌĐƵƌƚĂŝůΎŽƌƌĞĚƵĐΎŽƌůĞƐƐĞŶΎŽƌ
       ŚŝŶĚĞƌΎŽƌŚĂŵƉĞƌΎŽƌĚĞƚĞƌŽƌĚĞƚĞƌƐŽƌ
       ĚĞƚĞƌƌĞĚŽƌĚĞƚĞƌƌŝŶŐŽƌĚĞƚĞƌƌĞŶĐĞŽƌ
       ƐƵƉƉƌĞƐƐΎŽƌĐŚĞĐŬΎŽƌŬŝůůΎŽƌŚĂƌŶĞƐƐΎŽƌ
       ΗŬĞĞƉŝŶůŝŶĞΗŽƌůŝŵŝƚΎŽƌƐůŽǁΎŽƌďƌĞĂŬΎŽƌ
       ƉƌĞǀĞŶƚΎŽƌĐŽŶƐƚƌĂŝŶΎŽƌĐŽŶƚƌŽůΎŽƌΗŚŽůĚƚŚĞ
       ůŝŶĞΗŽƌĞůŝŵŝŶΎŽƌƵŶĚĞƌŵŝŶΎŽƌŚĂƌŵΎͿǁͬϱ
       ;ĐŽŵƉĞƚŝƚΎŽƌƐƵƉƉůΎŽƌǀŽůƵŵĞΎŽƌŵĂƌŬĞƚŽƌ
       ŵĂƌŬĞƚƐŽƌŵŬƚΎŽƌƐŚĂƌĞΎŽƌƉƌŽĚƵĐƚΎŽƌ
  ϭϮ   ƚĞƌƌŝƚŽƌǇΎŽƌŵĂƌŐŝŶΎͿ
       ;ƉƌŽƚĞĐƚΎǁͬϱ;ĐŽŵƉĞƚŝƚΎŽƌƐƵƉƉůΎŽƌǀŽůƵŵĞΎ
       ŽƌŵĂƌŬĞƚŽƌŵĂƌŬĞƚƐŽƌŵŬƚΎŽƌƐŚĂƌĞΎŽƌ
       ƉƌŽĚƵĐƚΎŽƌƚĞƌƌŝƚŽƌǇΎŽƌŵĂƌŐŝŶΎͿͿEEKd
ϭϮ͘ϭ   ΗƐĂĨĞůŝŶŬƐ͘ƉƌŽƚĞĐƚŝŽŶ͘ŽƵƚůŽŽŬΗ
       ΗWůĂǇďǇƚŚĞƌƵůĞƐΗŽƌΗƉůĂǇŶŝĐĞΗŽƌΗƌĞĂƚĞ
       ǁĂǀĞƐΗŽƌΗƌŽĐŬƚŚĞďŽĂƚΗŽƌΗĂĐŬĐŚĂŶŶĞůΗŽƌ
  ϭϯ   ΗďĂĐŬƌŽŽŵΎΗŽƌΗĐŽŵŵŽŶƵŶĚĞƌƐƚĂŶĚŝŶŐΗ
       ;ĐŚĞĂƚŽƌĐŚĞĂƚƐŽƌĐŚĞĂƚĞĚŽƌĐŚĞĂƚŝŶŐŽƌ
       ĐŚĞĂƚĞƌŽƌĐŚĞĂƚĞƌƐͿǁͬϱϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌ
  ϭϰ   ĐŽŵƉĞŶƐĂƚŝŽŶΎŽƌĨĞĞŽƌĨĞĞƐͿ
       ƵŶĞƚŚŝĐĂůǁͬϱϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎ
ϭϰ͘ϭ   ŽƌĨĞĞŽƌĨĞĞƐͿ
       ƐƚŽůĞΎǁͬϱϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎŽƌ
ϭϰ͘Ϯ   ĨĞĞŽƌĨĞĞƐͿ
       ĚŝƐŚŽŶΎǁͬϱϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎ
ϭϰ͘ϯ   ŽƌĨĞĞŽƌĨĞĞƐͿ
       ƐƵƐƉŝĐŝΎǁͬϱϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎ
ϭϰ͘ϰ   ŽƌĨĞĞŽƌĨĞĞƐͿ
       ƌĞƚĂůŝĂƚΎǁͬϱϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎ
ϭϰ͘ϱ   ŽƌĨĞĞŽƌĨĞĞƐͿ
       ƐƚĞĂůΎǁͬϱϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎŽƌ
ϭϰ͘ϲ   ĨĞĞŽƌĨĞĞƐͿ
       ƚƌĂŝƚŽƌΎǁͬϱϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎ
ϭϰ͘ϳ   ŽƌĨĞĞŽƌĨĞĞƐͿ
       ;ΗŽŶŽƚΗŽƌΗŵƵƐƚŶŽƚΗŽƌΗƐŚŽƵůĚŶŽƚΗŽƌΗŵĂǇ
       ŶŽƚΗŽƌĐĂŶ͛ƚŽƌĚŽŶ͛ƚŽƌĐĂŶŶŽƚͿǁͬϮ;ĨŽƌǁĂƌĚΎ
       ŽƌĚŝƐĐůŽƐΎŽƌĐŽƉǇŽƌƐŚĂƌΎŽƌƚĞůůŽƌƌĞƉĞĂƚŽƌ
       ƚĂůŬŽƌƐĞŶĚŽƌĐŝƌĐƵůĂƚĞͿǁͬϮϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌ
  ϭϱ   ĐŽŵƉĞŶƐĂƚŝŽŶͿ
       Η,ĂŶĚůĞǁŝƚŚĐĂƌĞΗŽƌ;ǇĞΎǁͬϮŽŶůǇͿŽƌ&zKŽƌ
  ϭϲ   ;ŝŶƚĞƌŶĂůǁͬϯŽŶůǇͿ
  ϭϳ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬůŝƐƚΎ
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     ;ZĞƋƵŝƌĞΎŽƌŵĂŶĚĂƚΎŽƌĐŽŵƉĞůΎͿǁͬϭϱ
     ;ŵĞŵďĞƌΎŽƌƉĂƌƚŝĐŝƉΎŽƌŝŶǀŽůǀĞΎͿǁͬϭϱ;D>^Ύ
     ŽƌΗŵƵůƚŝƉůĞůŝƐƚŝŶŐΗŽƌΗƐƚĂƚĞďŽĂƌĚΗŽƌΗƐƚĂƚĞ
     ĂƐƐŽĐŝĂƚŝŽŶΗŽƌΗƐƚĂƚĞƌĞĂůƚŽƌΎΗŽƌΗůŽĐĂůďŽĂƌĚΎΗ
  ϭϴ ŽƌΗůŽĐĂůĂƐƐŽĐŝĂƚŝŽŶΎΗŽƌΗůŽĐĂůƌĞĂůƚŽƌΎΗͿ

       ;ƐƚĂŶĚĂƌĚΎŽƌƚƌĂĚŝƚŝŽŶΎŽƌŵĂƌŬĞƚΎŽƌŚŝƐƚŽƌǇΎ
       ŽƌĂǀĞƌĂŐĞΎŽƌƚƌĞŶĚΎŽƌƚǇƉŝĐĂůΎŽƌŽƌĚŝŶĂƌΎŽƌ
       ĐŽŵŵŽŶΎŽƌŶŽƌŵĂůΎŽƌĂĐĐĞƉƚĞĚΎŽƌƌĞƋƵŝƌĞΎͿ
  ϭϵ   ǁͬϭϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿ
       ;ƐŚŽǁΎŽƌƐĐƌĞĞŶΎŽƌĨŝůƚĞƌΎŽƌĚŝƐĐƌŝŵΎŽƌŚŝĚĞΎ
       ŽƌŚŝĚĚĞŶΎŽƌƐĞĐƌĞƚΎŽƌƚƌĂŶƐƉĂƌĞŶΎŽƌƐŚŝĞůĚΎ
       ŽƌǁŝƚŚŚŽůĚΎŽƌĚŝǀƵůŐΎŽƌƌĞǀĞĂůΎŽƌƌĞƐƚƌŝĐΎŽƌ
       ƐĞĂƌĐŚΎŽƌƉƵďůŝƐŚΎŽƌĚŝƐĐůŽƐΎŽƌƐŽƌƚΎŽƌ
       ĞǆĐůƵĚĞΎŽƌƐĞŐƌĞŐΎŽƌĚŝƐƉůĂǇΎͿǁͬϮϱ
  ϮϬ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϭϬŵƵůƚŝƉůĞ
  Ϯϭ   ůŝƐƚŝŶŐƐĞƌǀŝĐĞ
  ϮϮ   ;ΗŚƵƐŚŚƵƐŚΗŽƌΗĐŽǀĞƌƵƉΗͿ
       ;ƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌĂŶĂůǇƐĞƐŽƌĂŶĂůǇƐŝƐŽƌ
       ƌĞƉŽƌƚΎŽƌĚĂƚĂͿǁͬϲ;ĐŽŵƉĞƚŝƚΎŽƌƉŽƐŝƚŝŽŶΎŽƌ
  Ϯϱ   ƌĂŶŬΎŽƌĂĚǀĞƌƚŝƐΎͿ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
  Ϯϲ   ǁͬϮϬĐŽŵƉĞŶƐĂƚŝŽŶ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚ
  Ϯϳ   ΗƉƌŽĨĞƐƐŝŽŶĂůƐƚĂŶĚĂƌĚƐĐŽŵŵŝƚƚĞĞΗ
       ;ďƌŽŬĞƌΎŽƌƌĞĂůƚŽƌΎŽƌĂŐĞŶƚΎͿǁͬϭϬ;ŐůƵƚΎŽƌ
       ŽǀĞƌŚĂŶŐΎŽƌŽǀĞƌĐĂƉĂĐŝƚǇΎŽƌƐƵƌƉůƵƐŽƌ
       ĐŽůůĂƉƐĞΎŽƌĞǆĐĞƐƐΎŽƌŽǀĞƌƐƵƉƉůΎŽƌǁĂŐĞΎŽƌ
  Ϯϴ   ΗŚŽƵƌƐǁŽƌŬĞĚΗͿ
Ϯϴ͘ϭ   ;ďƌŽŬĞƌΎŽƌƌĞĂůƚŽƌΎŽƌĂŐĞŶƚΎͿǁͬϰŝŶĐŽŵĞΎ
Ϯϴ͘Ϯ   ;ĂŐĞŶƚΎŽƌďƌŽŬĞƌΎͿǁͬϭϬƐĐŚĞĚƵůĞ
       ;ŵŽĚŝĨΎŽƌŶĞŐŽƚŝĂΎŽƌĐŚĂŶŐĞΎŽƌĂůƚĞƌΎŽƌ
       ĂĚũƵƐƚΎͿǁͬϱ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎŽƌ
  Ϯϵ   ƵŶŝůĂƚĞƌĂůΎͿ

     ;ΎƚĂĐŝƚΎŽƌƵŶƐƉŽŬĞŶΎŽƌŝŵƉůΎŽƌƵŶǁƌŝƚƚĞŶΎŽƌ
     ΗŶŽƚŝŶǁƌŝƚŝŶŐΗͿǁͬϰ;ĂŐƌĞĞΎŽƌƌƵůĞŽƌ
  ϯϬ ƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎŽƌĂƌƌĂŶŐĞŵĞŶƚΎͿ
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     ;D>^ΎŽƌΗŵƵůƚŝƉůĞůŝƐƚŝŶŐΗͿǁͬϭϬ;ďĞŶĞĨŝƚΎŽƌ
     ĂĚǀĂŶƚĂŐĞΎŽƌƉŽǁĞƌΎŽƌĐŽŶƚƌŽůΎŽƌĚŝƐĐŽƵŶƚΎ
     ŽƌΗůŝŵŝƚĞĚƐĞƌǀŝĐĞΗŽƌĂůƚĞƌŶĂƚŝǀĞΎŽƌΗĐĞĂƐĞĂŶĚ
     ĚĞƐŝƐƚΗŽƌĞŶĨŽƌĐĞΎŽƌĐŽŵƉĞƚĞŽƌĐŽŵƉĞƚĞƐŽƌ
     ĐŽŵƉĞƚĞĚŽƌĐŽŵƉĞƚŝŶŐŽƌĐŽŵƉĞƚŝƚŝŽŶŽƌ
  ϯϭ ĐŽŵƉĞƚŝƚŽƌŽƌĐŽŵƉĞƚŝƚŽƌƐͿ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
  ϯϰ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬĐŽŵŵŝƐƐŝŽŶΎ

       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
  ϯϱ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϭϬĐŽŵƉĞŶƐĂƚΎ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
  ϯϲ   ǁͬϮϬĐŽŵŵŝƐƐŝŽŶΎ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱ;ĨƌĞĞŽƌ
       ΗǁŝƚŚŽƵƚĐŽƐƚΗŽƌΗŶŽĐŽƐƚΗŽƌΗŶŽĐŚĂƌŐĞΗͿKZ
       ;;ƐĞƌǀŝĐĞΎŽƌĂĚǀĞƌƚŝƐΎͿǁͬϱ;ĨƌĞĞŽƌΗǁŝƚŚŽƵƚ
       ĐŽƐƚΗŽƌΗŶŽĐŽƐƚΗŽƌΗEŽĐŚĂƌŐĞΗͿǁͬϳ;ĂŐĞŶƚΎ
  ϯϳ   ďƌŽŬĞƌΎŽƌƌĞĂůƚŽƌΎͿͿ
       ^ƚĂŶĚĂƌĚΎǁͬϱ;ĂŐƌĞĞŵĞŶƚΎŽƌĐŽŶƚƌĂĐƚΎͿǁͬϱ
  ϯϴ   ůŝƐƚŝŶŐ
       ;ĐŽŽƉĞƌĂƚŝǀĞŽƌĐŽŽƉŽƌĐŽͲŽƉͿǁͬϮ;ĐŽŵƉĞŶƐĂƚΎ
       ŽƌĐŽŵŵŝƐƐŝŽŶΎŽƌƚƌĂŶƐĂĐƚŝŽŶΎŽƌ
  ϯϵ   ƌĞůĂƚŝŽŶƐŚŝƉΎͿ
       ĐŽŵƉĞŶƐĂƚΎǁͬϱ;ΗĐŽŽƉĞƌĂƚŝŶŐďƌŽŬĞƌΗŽƌ
       ΗĐŽŽƉĞƌĂƚŝŶŐĂŐĞŶƚΗŽƌΗĐŽŽƉĞƌĂƚŝŶŐƌĞĂůƚŽƌΗŽƌ
       ΗďƵǇĞƌďƌŽŬĞƌΗŽƌΗďƵǇĞƌĂŐĞŶƚΗŽƌΗďƵǇĞƌ
  ϰϬ   ƌĞĂůƚŽƌΗͿ
       ;ƐƵďĂŐĞŶΎŽƌΗƐƵďͲĂŐĞŶΎΗŽƌΗƐƵďĂŐĞŶƚΗͿǁͬϭϬ
  ϰϭ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿ
       ŽůůƵĚΎŽƌĐŽůůƵƐŝŽŶŽƌĂŶƚŝĐŽŵƉĞƚŝƚΎŽƌ;ĂŶƚŝ
       ǁͬϮĐŽŵƉĞƚŝƚΎͿŽƌƵŶĐŽŵƉĞƚΎŽƌĐĂƌƚĞůΎŽƌ
       ĐŽŶƐƉŝƌΎŽƌΗƉƌŝĐĞĨŝǆΗŽƌΗƉƌŝĐĞͲĨŝǆΗŽƌ;ƉƌŝĐĞǁͬϮ
  ϰϮ   ĨŝǆΎͿ
       ŵĂŶŝƉƵůĂƚΎǁͬϮϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌƉƌŝĐĞΎŽƌĨĞĞ
ϰϮ͘ϭ   ŽƌĨĞĞƐŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿ
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  ϰϯ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬŵĂŝŶƚĂŝŶΎ

  ϰϰ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĞƐƚĂďůŝƐŚΎ
     ;K:ŽƌΗ:ƵƐƚŝĐĞĞƉĂƌƚŵĞŶƚΗŽƌΗĞƉĂƌƚŵĞŶƚŽĨ
     :ƵƐƚŝĐĞΗŽƌƵƐĚŽũΎŽƌΎΛƵƐĚŽũ͘ŐŽǀΎŽƌ
     ΎΛĨƚĐ͘ŐŽǀΎŽƌΗ'ƌĂŶĚũƵƌǇΗŽƌ;ŽŵƉĞƚŝƚŝΎǁͬϮ
     ;ůĂǁΎŽƌĂƵƚŚŽƌŝƚΎͿͿͿĂŶĚ;ĐŽŵƉĞŶƐĂƚŝŽŶΎŽƌ
  ϰϱ ĐŽŵŵŝƐƐŝŽŶΎŽƌD>^ΎͿ

       Η^ŚĞƌŵĂŶĐƚΗŽƌŶƚŝƚƌƵƐƚŽƌΗĂŶƚŝͲƚƌƵƐƚΗŽƌ
  ϰϳ ĂŶƚŝŵŽŶŽƉŽůǇŽƌΗĂŶƚŝͲŵŽŶŽƉŽůǇΗŽƌŵŽŶŽƉŽůǇ
  ϰϴ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬƉŽůŝĐΎ

     ;ŽŵƉůĂŝŶΎŽƌĐƌŝƚŝĐΎŽƌƉƌŽďůĞŵŽƌŽďũĞĐƚΎŽƌ
  ϰϵ ŐƌŝƉĞΎͿǁͬϭϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚĞΎͿ
     ;ĞƚŚŝĐΎŽƌ,ĂŶĚďŽŽŬͿǁͬϭϬ;ĐŽŵƉĞŶƐĂƚΎŽƌ
  ϱϬ ĐŽŵŵŝƐƐŝŽŶΎͿ
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚĞǆĞĐƵƚŝǀĞ
  ϱϮ ĐŽŵŵŝƚƚĞĞ

       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
       ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ;ĚŝƐĐŽƵŶƚĞƌΎŽƌ
  ϱϯ   ΗĚŝƐĐŽƵŶƚďƌŽŬĞƌΎΗŽƌΗĚŝƐĐŽƵŶƚĐŽŵƉĞƚΎΗͿ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚ;ΗŵƵůƚŝƉůĞ
  ϱϰ   ůŝƐƚŝŶŐΗǁͬϮĐŽŵŵŝƚƚĞĞͿ
  ϱϱ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĨŝǆΎ
  ϱϲ   ΗĚĞĨŝŶŝƚĞĚŽůůĂƌĂŵŽƵŶƚΗ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϭϬ
  ϱϳ   ĐŽŵƉĞƚŝƚΎ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗƉĂƐƚ
  ϱϴ   ƉƌĞƐŝĚĞŶƚƐΎΗ
  ϱϵ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬůŽǁΎ
  ϲϬ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĐŽŶƚƌŽůΎ

  ϲϭ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬƐƚĂŶĚĂƌĚΎ
  ϲϮ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬŚŝŐŚΎ
  ϲϯ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĨŽůůŽǁΎ
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     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
     ǁͬϮϬ;ĚŝƐĐŽƵŶƚĞƌΎŽƌΗĚŝƐĐŽƵŶƚďƌŽŬĞƌΎΗŽƌ
  ϲϰ ΗĚŝƐĐŽƵŶƚĐŽŵƉĞƚΎΗͿ
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗŵƵůƚŝƉůĞ
  ϲϱ ůŝƐƚŝŶŐŝƐƐƵĞƐΗ

     ;D>^ŽƌΗŽƵŶĐŝůŽĨDƵůƚŝƉůĞ>ŝƐƚŝŶŐ^ĞƌǀŝĐĞΎΗ
     ŽƌΗŽƵŶĐŝůŽŶDƵůƚŝƉůĞ>ŝƐƚ^ĞƌǀŝĐĞΎΗͿǁͬϯϬ
  ϲϲ ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎͿ
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚůĞĂĚĞƌƐŚŝƉ
  ϲϴ ƚĞĂŵ
     ;ϯͲϮŽƌϵͲϱŽƌϭϮͲϮŽƌϭϲͲϭϲŽƌϮϭͲϭϲͿǁͬϱ
  ϳϬ ;ƐƚĂŶĚĂƌĚŽƌ^KWͿ

       ;ΗƐƚĂƚĞďŽĂƌĚΗŽƌΗƐƚĂƚĞĂƐƐŽĐŝĂƚŝŽŶΗŽƌΗƐƚĂƚĞ
       ƌĞĂůƚŽƌΎΗŽƌΗůŽĐĂůďŽĂƌĚΎΗŽƌΗůŽĐĂů
       ĂƐƐŽĐŝĂƚŝŽŶΎΗŽƌΗůŽĐĂůƌĞĂůƚŽƌΎΗͿǁͬϭϱ;ƉŽǁĞƌΎ
       ŽƌĐŽŶƚƌŽůΎŽƌĂƵƚŚŽƌŝƚΎŽƌƌĞƋƵŝƌĞΎŽƌŵĂŶĚĂƚΎͿ
  ϳϭ   ǁͬϭϱ;EZŽƌΗŶĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗͿ
       D>^ǁͬϭϬ;ĐŽƉǇƌŝŐŚƚΎŽƌĚŝƐƚƌŝďƵƚΎŽƌƐĞůůΎŽƌ
       ƐĂůĞΎŽƌƌĞƐĞůůΎŽƌƌĞƐĂůĞΎŽƌƐǇŶĚŝĐΎͿǁͬϭϬ
  ϳϮ   ;ůŝŵŝƚΎŽƌƌĞƐƚƌŝĐƚΎŽƌƉƌŽŚŝďŝƚΎͿ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
       ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱ;ĚŝƐĐŽƵŶƚĞƌΎŽƌΗĚŝƐĐŽƵŶƚ
  ϳϯ   ďƌŽŬĞƌΎΗŽƌΗĚŝƐĐŽƵŶƚĐŽŵƉĞƚΎΗͿ
  ϳϰ   ŽĨĨĞƌǁͬϯ;ďůĂŶŬĞƚŽƌƵŶŝůĂƚĞƌĂůͿ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
  ϳϱ ǁͬϮϬ;Η>ŽŶŐZĞĂůƚǇΗͿ
     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
  ϳϲ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬĚŝƐĐŽƵŶƚΎ
     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
  ϳϴ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬĐŽŵƉĞƚΎ
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  ϴϬ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬŝŶĐƌĞĂƐĞΎ
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗĚĞůĞŐĂƚĞ
  ϴϮ ďŽĚǇΗ

       ΗtŽŶ͛ƚĐŽŵƉĞƚĞΗŽƌΗĚŽŶ͛ƚĐŽŵƉĞƚĞΗŽƌΗǁŝůů
       ŶŽƚĐŽŵƉĞƚĞΗŽƌΗĚŽŶŽƚĐŽŵƉĞƚĞΗŽƌ
       ΗƐŚŽƵůĚŶ͛ƚĐŽŵƉĞƚĞΗŽƌΗƐŚŽƵůĚŶŽƚĐŽŵƉĞƚĞΗ
  ϴϱ   ŽƌΗĐĂŶŶŽƚĐŽŵƉĞƚĞΗŽƌΗĐĂŶ͛ƚĐŽŵƉĞƚĞΗ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗD>^
  ϴϲ   ƚĞĐŚŶŽůŽŐǇΗ
       ΗŝŶǀŝƚĂƚŝŽŶΎΗǁͬϱ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎ
  ϴϵ   ŽƌĐŽŽƉĞƌĂƚŝŽŶΎͿ
       ŽǇĐŽƚƚΎŽƌ;ƌĞĨƵƐΎǁͬϱĚĞĂůͿŽƌ;ĚĞĐůŝŶΎǁͬϱ
       ĚĞĂůͿŽƌ;ƌĞĨƵƐΎǁͬϱďƵƐŝŶĞƐƐͿŽƌ;ĚĞĐůŝŶΎǁͬϱ
  ϵϬ   ďƵƐŝŶĞƐƐͿ

       ;ĨŽƌĞŝŐŶŽƌŝŶƚĞƌŶĂƚŝŽŶĂůŽƌΗŽƚŚĞƌĐŽƵŶƚƌΎΗŽƌ
       ŐůŽďĂůŽƌŶŐůĂŶĚŽƌh<ŽƌΗƵŶŝƚĞĚŬŝŶŐĚŽŵΗŽƌ
       'ĞƌŵĂŶǇŽƌ/ƐƌĂĞůŽƌƵƐƚƌĂůŝĂŽƌΗEĞǁĞĂůĂŶĚΗ
       ŽƌΗ,ŽŶŐ<ŽŶŐΗŽƌ^ŝŶŐĂƉŽƌĞŽƌĞŶŵĂƌŬŽƌ
       /ƌĞůĂŶĚŽƌEĞƚŚĞƌůĂŶĚƐŽƌ^ǁĞĚĞŶŽƌĞůŐŝƵŵŽƌ
       &ŝŶůĂŶĚŽƌdƵƌŬĞǇͿǁͬϭϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌ
  ϵϭ   ĐŽŵƉĞŶƐĂƚŝŽŶΎŽƌΎŝŶĐŽŵĞͿ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗƌŝƐŬ
  ϵϮ   ŵĂŶĂŐĞŵĞŶƚΗ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
  ϵϯ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱŝůůŽǁ
  ϵϲ   ƉŽůŝĐǇǁͬϯΗϳ͘ϮϯΗ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚ
  ϵϳ   ΗƉƌĞƐŝĚĞŶƚŝĂůĂĚǀŝƐŽƌǇΗ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
  ϵϴ   ŽůĚǁĞůůΎ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗƐƚĂƚĞĂŶĚ
 ϭϬϬ   ůŽĐĂůŝƐƐƵĞƐΗ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϭϬϭ   ǁͬϮϬŝůůŽǁ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗƌĞĂůƚŽƌ
 ϭϬϮ   ƵŶŝǀĞƌƐŝƚǇΗ
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     ;ĂŐĞŶƚΎŽƌƌĞĂůƚŽƌΎŽƌďƌŽŬĞƌΎŽƌD>^ŽƌďƵǇĞƌΎ
     ŽƌƐĞůůĞƌΎͿǁͬϭϬŽƐƚΎǁͬϭϱ;ĨĂůůΎŽƌĚĞĐƌĞĂƐΎŽƌ
     ƚĞĐŚŶŽůŽŐǇŽƌůŽǁĞƌΎŽƌƉůƵŶŐΎŽƌƚƵŵďůΎŽƌ
 ϭϬϯ ƐŝŶŬΎͿ
     ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
     ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϭϬϰ ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱůŝŵŝƚĞĚƐĞƌǀŝĐĞ

     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎ
     ŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌ
     ĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌ
     ĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌ
     ďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬŽůĚǁĞůůΎĂŶĚ
 ϭϬϱ ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎŽƌD>^Ϳ

 ϭϬϲ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬŵŝŶŝŵƵŵΎ
       ^ƵƐŵĂŶŽƌ;ΗŽŚĞŶDŝůƐƚĞŝŶΗͿŽƌ,ĂŐĞŶƐŽƌ
 ϭϬϳ ŽƵůǁĂƌĞŽƌΗǁŝůůŝĂŵƐĚŝƌŬƐΗŽƌĚĂŵĞƌŽŶ
 ϭϬϴ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĞŶĨŽƌĐĞΎ
     ΗŵƵůƚŝƉůĞůŝƐƚŝŶŐƐĞƌǀŝĐĞƐƐŚĂůůŶŽƚƉƵďůŝƐŚΗŽƌ
     ΗD>^ƐŚĂůůŶŽƚƉƵďůŝƐŚΗŽƌΗD>^ƐƐŚĂůůŶŽƚ
 ϭϬϵ ƉƵďůŝƐŚΗ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϭϬ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬŝůůŽǁ
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚ
 ϭϭϭ ΗĂƐƐŽĐŝĂƚŝŽŶĞǆĞĐƵƚŝǀĞƐĐŽŵŵŝƚƚĞĞΗ

       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϭϮ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬŽůĚǁĞůůΎ
       hŶƚƌĂĐĞĂďůĞΎŽƌΗŶŽŶͲƚƌĂĐĞĂďůĞΗŽƌǁŚĂƚƐĂƉƉŽƌ
       ;ƚĞůĞŐƌĂŵǁͬϭϬ;ĂƉƉΎŽƌĞŶĐƌǇƉƚΎŽƌŵĞƐƐĂŐĞΎ
       ŽƌĐŽŶƚĂĐƚΎŽƌƚĞǆƚΎŽƌƵƐĞΎͿͿŽƌƚŚƌĞĞŵĂŽƌ
       ĐǇƉŚƌŽƌǀŝďĞƌŽƌǁŝĐŬƌŽƌ;ƐŝŐŶĂůǁͬϭϬ;ĂƉƉΎŽƌ
       ĞŶĐƌǇƉƚΎŽƌŵĞƐƐĂŐĞΎŽƌĐŽŶƚĂĐƚΎŽƌƚĞǆƚΎŽƌ
 ϭϭϯ   ƵƐĞΎͿͿ͟
 ϭϭϰ   ΗŝŶĨŽƌŵĂƚŝŽŶƐƉĞĐŝĨǇŝŶŐƚŚĞĐŽŵƉĞŶƐĂƚŝŽŶΗ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚ
 ϭϭϱ   ƉƌŽĨĞƐƐŝŽŶĂůƐƚĂŶĚĂƌĚƐĨŽƌƵŵ
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       EĞŐŽƚŝĂΎǁͬϱ;ĚŝƐĐŽƵƌĂŐΎŽƌůŝŵŝƚΎŽƌƉƌĞǀĞŶƚΎ
       ŽƌƐƚŽƉΎŽƌĞŶĚΎŽƌƌĞĚƵĐΎŽƌŝŶŚŝďŝƚΎŽƌƌĞĨƵƐΎ
       ŽƌĚĞĐůŝŶΎŽƌƌĞƐƚƌŝĐƚΎŽƌŝŵƉĞĚΎŽƌŬŝůůΎŽƌĐƵƌďΎ
 ϭϭϲ   ŽƌĐƵƌƚĂŝůΎͿ
 ϭϭϳ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬůĞĂĚΎ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬDǇ
 ϭϭϴ   &ůŽƌŝĚĂ
       ;DŝƐƐŽƵƌŝǁͬϮ;ĐĂƐĞΎŽƌΎƐƵŝƚΎŽƌĂĐƚŝŽŶͿͿŽƌ
       ;/ůůŝŶŽŝƐǁͬϮ;ĐĂƐĞΎŽƌΎƐƵŝƚΎŽƌĂĐƚŝŽŶͿͿŽƌΗĐůĂƐƐ
 ϭϭϵ   ĂĐƚŝŽŶΎΗ
 ϭϮϬ   ;EŽŶΎŽƌĂǀŽŝĚΎŽƌĞǆĐůƵΎͿǁͬϱĐŽŵƉĞƚΎ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬ
 ϭϮϭ   ƌĞĐŽŵŵĞŶĚĂƚŝŽŶΎ
 ϭϮϮ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĨĂůůΎ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚ;ΗƐƚĂƚĞ
 ϭϮϯ   ůĞĂĚĞƌƐŚŝƉΗǁͬϯĐŽƵŶĐŝůΎͿ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚŝĚĞĂ
 ϭϮϰ   ĞǆĐŚĂŶŐĞĐŽƵŶĐŝů

     ƌŽďĞĐŬŽƌΗŽŶƐƵŵĞƌ&ĞĚĞƌĂƚŝŽŶΗŽƌΗƌĞĂůƚŽƌ
     ƌĂĐŬĞƚΗŽƌEĂŐĂůƐŬŝŽƌWĂƚŚĂŬŽƌWĂƌĂŐŽƌΗEŝŶĞ
     WŝůůĂƌƐΗŽƌ;ŽƵŐΎǁͬϮŵŝůůĞƌΎͿŽƌΗWĞŶŐ>ŝƵΗŽƌ
     ĞůĐŽƵƌĞŽƌ;EŽƌŵΎǁͬϮŵŝůůĞƌͿŽƌďĂƌǁŝĐŬŽƌ
     ;,ƐŝĞŚǁͬϱŵŽƌĞƚƚŝͿŽƌΗ&ĂĐƚŽƌƚŚĂƚDĂǇĨĨĞĐƚ
 ϭϮϱ WƌŝĐĞŽŵƉĞƚŝƚŝŽŶΗ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϭϮϲ <ĞůůĞƌΎ

 ϭϮϳ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĚĞĐƌĞĂƐĞΎ

     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎ
     ŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌ
     ĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌ
     ĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌ
     ďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ<ĞůůĞƌΎĂŶĚ
 ϭϮϴ ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎŽƌD>^ΎͿ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϭϮϵ ZĞŵĂǆΎ
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     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
     ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬZĞŵĂǆΎ
 ϭϯϬ ĂŶĚ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎŽƌD>^ΎͿ

     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
 ϭϯϭ ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬZ

 ϭϯϮ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬŐƵŝĚĞůŝŶĞΎ
 ϭϯϯ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬƌĂŝƐĞΎ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϭϯϰ WƌƵĚĞŶƚŝĂůΎ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϯϱ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬZĞŵĂǆΎ

     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎ
     ŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌ
     ĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌ
     ĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌ
 ϭϯϲ ďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬZĞĚĨŝŶ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϯϳ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ<ĞůůĞƌΎ
 ϭϯϴ ;,ŽƵƐŝŶŐŽƌƐĂůĞƐͿǁͬϱŝŶĚĞǆ

     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
     ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬZĂŶĚ
 ϭϯϵ ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎŽƌD>^ΎͿ
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     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϭϰϬ ĞŶƚƵƌǇϮϭ

       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϰϭ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬZĞĚĨŝŶ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϭϰϮ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱZĞĚĨŝŶ
       ;t^:ΎŽƌΗǁĂůůƐƚƌĞĞƚũŽƵƌŶĂůΗŽƌEzdŽƌΗEĞǁ
       zŽƌŬdŝŵĞƐΗŽƌŝŶŵĂŶŽƌΗůĂǁϯϲϬΗŽƌΗůĂǁϯϲϬΗ
       ŽƌΗ<ƐƚĂƌΗŽƌΗ<ĂŶƐĂƐĐŝƚǇƐƚĂƌΗͿǁͬϭϬ
 ϭϰϯ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿ
 ϭϰϰ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬŵĂŶƵĂůΎ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚůĂƌŐĞ
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     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
     ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ<tĂŶĚ
 ϭϰϲ ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎŽƌD>^ΎͿ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
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     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϰϳ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ>Θ&Ύ
 ϭϰϴ ŽŵƉĞƚŝƚŝǀΎǁͬϭϬ;ŝŶƚĞůΎŽƌŝŶĨŽΎͿ

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     ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
     ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬĞŶƚƵƌǇ
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     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
 ϭϱϬ ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ<t
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     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϱϭ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬĞŶƚƵƌǇϮϭΎ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
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     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚ
 ϭϱϯ ΗƌĞŐƵůĂƚŽƌǇŝƐƐƵĞƐΗ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
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     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
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     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
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     ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ>Θ&Ύ
 ϭϱϱ ĂŶĚ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎŽƌD>^ΎͿ
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
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     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
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     ,ŽŵĞƐĞƌǀŝĐĞΎĂŶĚ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎ
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     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
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     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗůĞŐĂů
 ϭϱϴ ĂĐƚŝŽŶĐŽŵŵŝƚƚĞĞΗ
     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
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       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
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       ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
       ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
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 ϭϲϮ   D>^ΎͿ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϭϲϯ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱdƌƵůŝĂ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
       ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
       ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
       ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
       ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ
       ĞƌŬƐŚŝƌĞĂŶĚ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎŽƌ
 ϭϲϰ   D>^ΎͿ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϲϱ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ&^K
 ϭϲϲ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĨůŽŽƌΎ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϲϳ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬWƌƵĚĞŶƚŝĂůΎ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϭϲϴ ĚŝŶĂ
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     ;ĂŶŐĞƌŽƌĚ͘Ă͘Ŷ͘Ő͘Ğ͘ƌ͘ŽƌΗĚĞĨŝŶŝƚŝǀĞĂŶĂůǇƐŝƐŽĨ
     ŶĞŐĂƚŝǀĞΗͿǁͬϱ;ƌĞƉŽƌƚŽƌƐƚƵĚǇŽƌΎƉĂƉĞƌŽƌ
     ƐƵŵŵĂƌΎŽƌƉƉƚΎŽƌƉŽǁĞƌƉŽŝŶƚΎŽƌƐůŝĚĞΎŽƌ
     ĚĞĐŬΎŽƌƉƌĞƐĞŶƚΎŽƌŵĞĞƚŝŶŐΎŽƌŝŶƚĞƌǀŝĞǁΎŽƌ
 ϭϲϵ ĐĂůůΎŽƌŶŽƚĞΎŽƌƌĞƐĞĂƌĐŚΎͿ

 ϭϳϬ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĨŽƌŵƵůĂΎ
 ϭϳϭ KƌŐΎǁͬϱ;ĐŚĂƌƚŽƌŐƌĂƉŚͿ
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗƐƚƌĂƚĞŐŝĐ
 ϭϳϮ ƚŚŝŶŬŝŶŐΗ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϳϯ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ,ŽŵĞƐĞƌǀŝĐĞΎ

     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
 ϭϳϰ ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ&^K

     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
 ϭϳϱ ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬdƌƵůŝĂ

     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
     ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬĚŝŶĂ
 ϭϳϲ ĂŶĚ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎŽƌD>^ΎͿ
 ϭϳϳ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬŝŶĨůĂƚΎ
     ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
     ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϭϳϴ ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱ&^K
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     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
     ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ,,Ύ
 ϭϳϵ ĂŶĚ;ĐŽŵƉĞŶƐĂƚΎŽƌĐŽŵŵŝƐƐŝŽŶΎŽƌD>^ΎͿ

     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
 ϭϴϬ ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ,,

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϴϭ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬĞƌŬƐŚŝƌĞ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϴϮ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬdƌƵůŝĂ
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚĚĂƚĂ
 ϭϴϯ ƐƚƌĂƚĞŐŝĞƐ
     ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
     ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϭϴϰ ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱƐĂůĞďǇŽǁŶĞƌ

       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϴϱ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ,,Ύ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϭϴϲ   ,^Ύ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϭϴϳ   ZĞĂůŽŐǇΎ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϭϴϴ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱ/ďƵǇĞƌΎ
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     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
     ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ
 ϭϴϵ ZĞĂůŽŐǇΎ
     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 ϭϵϬ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬŝůůŽǁ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϵϭ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬĚŝŶĂ

 ϭϵϮ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬƉƌĞƐƐƵƌĞΎ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϭϵϯ   ^ŽƚŚĞďǇΎ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
       ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
       ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
       ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
       ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ
 ϭϵϰ   ^ŽƚŚĞďǇΎ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚƉƵďůŝĐ
 ϭϵϱ   ƉŽůŝĐǇĐŽŽƌĚŝŶĂƚŝŶŐ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗ
 ϭϵϲ   ĨŽƌƵŵΗ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϭϵϳ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ,^Ύ
     &ŝĚƵĐŝĂƌΎǁͬϭϬ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎ
 ϭϵϴ ŽƌĐƵƐƚŽŵĞƌΎͿ
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     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϭϵϵ ǁͬϮϬ<ĞůůĞƌΎ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϮϬϬ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ^ŽƚŚĞďǇΎ
     DŽĞŚƌůΎŽƌŵĞŽƌůŽƌ;DŝĐŚĂĞůǁͬϮŽůĞͿŽƌ
     ;DŝŬĞǁͬϮŽůĞͿŽƌ;:ĂĐŬΎǁͬϮZĂŵĞǇͿŽƌ;ĂŶΎ
     ǁͬϮhŵƉĂͿŽƌ;^ƚĞǀĞΎǁͬϮĂƌŶĞůůͿŽƌ;sĂůĞƌŝĞ
     ǁͬϮEĂŐĞƌͿŽƌ;:ĂŶĞǁͬϮZƵŚͿŽƌ^ŝƚǌĞƌŽƌ;^ĐŽƚƚ
     ǁͬϮďƵƌŶĞƚƚͿŽƌ;ZŚŽŶĚĂǁͬϮďƵƌŶĞƚƚͿŽƌ;ƌǇĂŶ
 ϮϬϭ ǁͬϮŚĞŶĚƌŝĐŬƐŽŶͿ
     ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;zĞƐǁͬϮ
 ϮϬϮ D>^Ϳ

       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
       ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
       ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
       ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
 ϮϬϯ   ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ,^Ύ
 ϮϬϰ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬƐƚĂďŝůΎ
       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϮϬϱ   ǁͬϮϬŽůĚǁĞůůΎ
 ϮϬϲ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬďůŽĐŬΎ

 ϮϬϳ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬdZE

 ϮϬϴ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬŵŽŶŝƚŽƌΎ

 ϮϬϵ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬD>^
     ^ƚĞĞƌΎǁͬϱϬ;ďƵǇĞƌΎŽƌĐƵƐƚŽŵĞƌΎŽƌ
 ϮϭϬ ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
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       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƉƌŝĐΎͿǁͬϭϬ
 ϮϭϮ ƵŶŝĨŽƌŵΎ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
       ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
       ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
       ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
       ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ;>ŽŶŐ
 Ϯϭϯ   ǁͬϮ&ŽƐƚĞƌΎͿ
       ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
       ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
       ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
       ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
       ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬ;ůŽǁΎǁͬϮ
 Ϯϭϰ   ĐŽƐƚΎͿ
       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 Ϯϭϱ   ǁͬϮϬĚŝŶĂ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 Ϯϭϲ   ;>ŽŶŐǁͬϮ&ŽƐƚĞƌΎͿ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
       ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
       ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
       ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
       ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬΗĞďďǇ
 Ϯϭϳ   ŚĂůůŝĚĂǇΗ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 Ϯϭϴ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱKƉĞŶĚŽŽƌ
       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 Ϯϭϵ   ǁͬϮϬZĞŵĂǆΎ
       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
       ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ;>ŽŶŐǁͬϮ
 ϮϮϬ   &ŽƐƚĞƌΎͿ
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     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϮϮϭ ĞƚƚĞƌ,ŽŵĞƐ
     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 ϮϮϮ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬ&^K

     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
 ϮϮϯ ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬEZdΎ
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚ
 ϮϮϰ ΗĐŽŶƐƵŵĞƌĐŽŵŵƵŶŝĐĂƚŝŽŶƐĐŽŵŵŝƚƚĞĞΗ
 ϮϮϱ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬƐƵƐƚĂŝŶΎ

     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
 ϮϮϲ ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ/ďƵǇĞƌΎ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϮϮϳ ǁͬϮϬΗĞŶƚƵƌǇϮϭΎΗ
 ϮϮϴ ;ΗΎϭϲͲϭϱΎΗŽƌΗΎϮϭͲϭϮΎΗͿǁͬϱŝŶƚĞƌƉƌĞƚĂƚŝŽŶΎ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϮϮϵ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬZĞĂůŽŐǇΎ
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
     ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬĞƚƚĞƌ
 ϮϯϬ ,ŽŵĞƐ
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     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 Ϯϯϭ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬEZdΎ
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗůĞŐĂů
 ϮϯϮ ƉƵůƐĞΗ
     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 Ϯϯϯ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬZĞĚĨŝŶ

       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 Ϯϯϰ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ/ďƵǇĞƌΎ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 Ϯϯϱ   ĞďďǇŚĂůůŝĚĂǇ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 Ϯϯϲ   ǁͬϮϬ&ŽǆĂŶĚƌŽĂĐŚ
 Ϯϯϳ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬŝŵƉĞĚΎ

     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
     ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
     ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
     ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
 Ϯϯϴ ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬZy
     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 Ϯϯϵ ǁͬϮϬĞƌŬƐŚŝƌĞ
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       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϮϰϬ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ&ŽǆĂŶĚƌŽĂĐŚ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƉƌŝĐΎͿǁͬϭϬ
 Ϯϰϭ   ĂƌƚŝĨŝĐΎ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬĨŽǆ
 ϮϰϮ   ĂŶĚƌŽĂĐŚ
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       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
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 Ϯϰϱ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬƐƚĂďůĞΎ
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
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     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 Ϯϰϲ ǁͬϮϬKƉĞŶĚŽŽƌ
     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
     ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬĨŽƌƐĂůĞďǇ
 Ϯϰϳ ŽǁŶĞƌ
     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
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     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 Ϯϰϵ ǁͬϮϬ,ŽŵĞƐĞƌǀŝĐĞΎ
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     ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
     ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϮϱϬ ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱZy
 Ϯϱϭ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĞůĞǀĂƚΎ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϮϱϮ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬƐƐŝƐƚͲϮͲƐĞůů

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
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     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 Ϯϱϯ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬƐƐŝƐƚͲƚŽͲƐĞůů
     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
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     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
 Ϯϱϱ ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬzŽƐƚ
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 Ϯϱϳ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬZD>^
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     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
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     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
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 Ϯϱϵ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬĞƚƚĞƌ,ŽŵĞƐ
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚ
 ϮϲϬ ƌĞƐŝĚĞŶƚŝĂůĞĐŽŶŽŵŝĐŝƐƐƵĞƐ
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       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
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       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 Ϯϲϭ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬZy
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϮϲϮ   ǁͬϮϬƐƐŝƐƚͲƚŽͲƐĞůů
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚĨĞĚĞƌĂů
 Ϯϲϯ   ůĞŐŝƐůĂƚŝŽŶĂŶĚƉŽůŝƚŝĐĂů
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 Ϯϲϰ   ǁͬϮϬƐƐŝƐƚͲϮͲƐĞůů

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 Ϯϲϱ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬKƉĞŶĚŽŽƌ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 Ϯϲϲ ǁͬϮϬWƌƵĚĞŶƚŝĂůΎ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 Ϯϲϳ &ŝƌƐƚǁĞďĞƌ

     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 Ϯϲϴ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬƐƐŝƐƚͲƚŽͲƐĞůů
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     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 Ϯϲϵ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬƐƐŝƐƚͲϮͲƐĞůů

       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
       ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
       ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
       ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
 ϮϳϬ   ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬzŽƐƚ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬΗƌŝǌŽŶĂ
 Ϯϳϭ   ZĞŐŝŽŶĂůΗ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϮϳϮ   ǁͬϮϬƐƐŝƐƚϮƐĞůů
 Ϯϳϯ   ŝƐŝŶƚĞƌŵĞĚŝĂƚΎ
       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 Ϯϳϰ   ǁͬϮϬZĞĂůŽŐǇΎ

 Ϯϳϱ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗƚŽƉϳϱΗ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 Ϯϳϲ ŝƉZĞĂůƚǇΎ
     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 Ϯϳϳ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬdƌƵůŝĂ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 Ϯϳϴ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬzŽƐƚ
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     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 Ϯϳϵ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬZĞĂů>ŝǀŝŶŐ
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗůĂƌŐĞ
 ϮϴϬ ƌĞƐŝĚĞŶƚŝĂůĨŝƌŵƐΗ

 Ϯϴϭ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬƌŝŐŚƚ
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϮϴϮ ǁͬϮϬŝƉZĞĂůƚǇΎ

       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
       ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
       ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
       ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
 Ϯϴϯ   ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬǀĞƌƐ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 Ϯϴϰ   ǁͬϮϬ&ŝƌƐƚǁĞďĞƌ
 Ϯϴϱ   ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬDZ/^
       ;'ĞŶƚůĞΎŽƌŚĂŶĚƐŚĂŬĞŽƌƵŶŽĨĨŝĐŝĂůͿǁͬϯ
       ;ĂŐƌĞĞŵĞŶƚΎŽƌƌƵůĞŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎŽƌ
 Ϯϴϲ   ĂƌƌĂŶŐĞŵĞŶƚΎͿ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 Ϯϴϳ   ,ĞĂƌƚůĂŶĚ
 Ϯϴϴ   ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ,Z

 Ϯϴϵ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ'>sZΎ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϮϵϬ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬĞďďǇŚĂůůŝĚĂǇ
 Ϯϵϭ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬŚŝŶĚĞƌΎ
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     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϮϵϮ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ&ŝƌƐƚǁĞďĞƌ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 Ϯϵϯ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬƐƐŝƐƚϮƐĞůů

     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 Ϯϵϰ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬƐƐŝƐƚϮƐĞůů
     ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
     ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 Ϯϵϱ ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱŽŶůŝŶĞďƌŽŬĞƌĂŐĞ
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 Ϯϵϲ ǁͬϮϬdƌĞůŽƌĂ

 Ϯϵϳ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬŽďƐƚƌƵĐƚΎ
     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 Ϯϵϴ ǁͬϮϬ,^Ύ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 Ϯϵϵ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬŝƉZĞĂůƚǇΎ
     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 ϯϬϬ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬdƌĞůŽƌĂ
     ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϬϭ ;ĂƌŽůŝŶĂǁͬϮD>^Ϳ
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       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϯϬϮ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬdƌĞůŽƌĂ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϬϯ   ZĞĂůĐŽŵƉΎ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
       ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
       ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
       ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
       ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ
 ϯϬϰ   EĞŝŐŚďŽƌĐŝƚǇ
       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϯϬϱ   ǁͬϮϬ^ŽƚŚĞďǇΎ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
       ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
       ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
       ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
       ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ
 ϯϬϲ   ŽƌĐŽƌĂŶΎ

     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
 ϯϬϳ ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ,ƵĨĨ

     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 ϯϬϴ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬKƉĞŶĚŽŽƌ
 ϯϬϵ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĞƌŽĚΎ

 ϯϭϬ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬEdZ/^Ύ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϭϭ ZŽůŽƌĂĚŽΎ
     ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
     ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϯϭϮ ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱKĨĨĞƌƉĂĚΎ
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     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 ϯϭϯ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬ/ďƵǇĞƌΎ

 ϯϭϰ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬdZ/^Ύ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϯϭϱ ŽƌĐŽƌĂŶΎ

 ϯϭϲ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ&ůĞǆD>^
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϯϭϳ ǁͬϮϬZĞĂů>ŝǀŝŶŐ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϯϭϴ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ,ƵĨĨ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϯϭϵ ZĞŐŝŽŶΎ^ĞƌǀŝĐĞΎ

 ϯϮϬ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬWWZΎ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϯϮϭ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱEĞŝŐŚďŽƌĐŝƚǇ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;<ĂŶƐĂƐ
 ϯϮϮ   ǁͬϮD>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϮϯ   ;;ŽůƵŵďŝĂǁͬϮ;ďŽĂƌĚŽƌďĚΎͿͿŽƌKZͿ
       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϯϮϰ   ǁͬϮϬŝƉZĞĂůƚǇΎ
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       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϯϮϱ   ǁͬϮϬ,ƵĨĨ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬZĞĂů
 ϯϮϲ   >ŝǀŝŶŐ
 ϯϮϳ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬƉĂƌĂůůĞůΎ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϮϴ   EKZD>^Ύ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϯϮϵ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱdƌĞůŽƌĂ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬdƌŝĂŶŐůĞ
 ϯϯϬ   D>^

 ϯϯϭ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬdD>^

       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϯϯϮ   ǁͬϮϬΗ&ŽǆĂŶĚƌŽĂĐŚΗ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϯϯϯ   ǁͬϮϬůŽŶŐƌĞĂůƚǇ
       ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
       ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
       ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
       ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 ϯϯϰ   ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬZy
       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϯϯϱ   ǁͬϮϬ&ŝƌƐƚǁĞďĞƌ
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     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϯϯϲ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬůŽŶŐƌĞĂůƚǇ
     ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϯϳ EŽƌƚŚƐƚĂƌΎ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϯϯϴ ǁͬϮϬΗĞďďǇŚĂůůŝĚĂǇΗ

       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϯϯϵ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬKĨĨĞƌƉĂĚΎ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬDŝĚͲ
 ϯϰϬ   ŵĞƌŝĐĂ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬŵŝĚ
 ϯϰϭ   ŵĞƌŝĐĂ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϯϰϮ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱƐƐŝƐƚͲϮͲƐĞůů
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϯϰϯ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱƐƐŝƐƚͲƚŽͲƐĞůů
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗůĂƌŐĞ
 ϯϰϰ   ďŽĂƌĚĨŽƌƵŵΗ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗŵĞĚŝƵŵ
 ϯϰϱ   ďŽĂƌĚĨŽƌƵŵΗ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϯϰϲ   ,^&Ύ
       ĐŽŵŵŝƐƐŝŽŶΎǁͬϱ;ƐƉŝƌĂůΎŽƌΎĐƌŝƚŝĐĂůŽƌ
 ϯϰϳ   ĐŽůůĂƉƐĞΎͿ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗŵĞŐĂ
 ϯϰϴ   ďŽĂƌĚĨŽƌƵŵΗ
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       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϯϰϵ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬŽƌĐŽƌĂŶΎ
 ϯϱϬ   ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĚŝƐƚƵƌďΎ
       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϯϱϭ   ǁͬϮϬzŽƐƚ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬEŽƌƚŚ
 ϯϱϮ   dĞǆĂƐZĞĂů
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬtĂƐĂƚĐŚ
 ϯϱϯ   &ƌŽŶƚ

       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϯϱϰ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ,^&Ύ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;DĞƚƌŽ
 ϯϱϱ   ǁͬϯD>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϱϲ   ĐŽŶŶĞĐƚD>^
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϱϳ   ,ZD>^Ύ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬůĂĐŬ
 ϯϱϴ   ŬŶŝŐŚƚ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϯϱϵ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬǀĞƌƐ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϯϲϬ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬEĞŝŐŚďŽƌĐŝƚǇ
     ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϲϭ ^ŽƵƚŚĞƌŶDŝƐƐŽƵƌŝƌĞŐŝŽŶΎ
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗůĞĂĚŝŶŐ
 ϯϲϮ ĞĚŐĞĂĚǀŝƐŽƌǇΗ

 ϯϲϯ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬDZ/^
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       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϯϲϰ   ZĞĞĐĞEŝĐŚŽůƐ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϯϲϱ   ǁͬϮϬ,^&Ύ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƉƌŝĐΎͿǁͬϭϬ
 ϯϲϲ   ŽǀĞƌĐŚĂƌŐĞΎ
 ϯϲϳ   ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬD&Z
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϲϴ   ŽƌĞůŽŐŝĐ
       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϯϲϵ   ǁͬϮϬ,ƵĨĨ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬůŽŶŐ
 ϯϳϬ   ƌĞĂůƚǇ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϯϳϭ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬZĞĞĐĞEŝĐŚŽůƐ
     ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϳϮ ;DŝƐƐŽƵƌŝǁͬϮD>^Ϳ
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϯϳϯ ǁͬϮϬZĞŐŝŽŶΎ^ĞƌǀŝĐĞΎ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϯϳϰ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬZĞŐŝŽŶΎ^ĞƌǀŝĐĞΎ
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 ϯϳϱ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ^KZΎ

 ϯϳϲ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬZz
     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϯϳϳ ǁͬϮϬEZdΎ
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϯϳϴ ǁͬϮϬZĞĞĐĞEŝĐŚŽůƐ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϯϳϵ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬZ^/
     ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƉƌŝĐΎͿǁͬϭϬ
 ϯϴϬ ƵŶĚĞƌĐƵƚΎ
 ϯϴϭ ŝƐĐŽƵŶƚǁͬϱĐŽŵƉĞƚŝƚŽƌΎ

 ϯϴϮ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ',Z

       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϯϴϯ   ǁͬϮϬΗĞƚƚĞƌ,ŽŵĞƐΗ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϯϴϰ   ǀĞƌƐ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϴϱ   EŽƌƚŚĞƌŶKŚŝŽZĞŐŝŽŶĂů
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϴϲ   ;ŽůŽƌĂĚŽǁͬϮD>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϴϳ   EDD>^
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;ŽĂƐƚĂů
 ϯϴϴ   ǁͬϮD>^Ϳ
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 ϯϴϵ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬZĞŵŝŶĞ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϯϵϬ   <ĞŶƚǁŽŽĚ
       ;ĂĚǀĞƌƐĂƌǇΎŽƌďƵǇĞƌΎͿǁͬϮĐŽŵŵŝƐƐŝŽŶΎǁͬϮ
 ϯϵϭ   ƌƵůĞ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;DŝĂŵŝ
 ϯϵϮ   ǁͬϮD>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϵϯ   EŽƌƚŚǁĞƐƚD>^

       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
 ϯϵϰ   ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬZ^/
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϯϵϱ   ǁͬϮϬ<ĞŶƚǁŽŽĚ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϯϵϲ   ǁͬϮϬZ^/
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϯϵϳ   ǁͬϮϬKĨĨĞƌƉĂĚΎ

 ϯϵϴ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ^ƚĞůůĂƌ
     ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϯϵϵ ;ŽůƵŵďƵƐǁͬϮĞŶƚƌĂůKŚŝŽͿ
 ϰϬϬ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ&^
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϰϬϭ ZĞĞĐĞEŝĐŚŽůƐ
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     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϰϬϮ ǁͬϮϬZĞĞĐĞEŝĐŚŽůƐ
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϰϬϯ ǁͬϮϬ,ĞůƉƵƐĞůů
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϰϬϰ ǁͬϮϬŚŽŵĞďƵǇĞƌĂĚǀŝƐŽƌƐ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϰϬϱ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ,ĞůƉƵƐĞůů
     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
     ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬŚŽŵĞďƵǇĞƌ
 ϰϬϲ ĂĚǀŝƐŽƌƐ
 ϰϬϳ ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎͿǁͬϭϬĞƌŽƐΎ

     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 ϰϬϴ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬKĨĨĞƌƉĂĚΎ
     ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϰϬϵ t&ZD>^
     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϭϬ ǁͬϮϬŽƌĐŽƌĂŶΎ
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     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϭϭ ǁͬϮϬǀĞƌƐ
     ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
     ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϭϮ ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱ,ĞůƉƵƐĞůů
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϰϭϯ ǁͬϮϬ&ŽŶǀŝůůĞ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϭϰ ǁͬϮϬΗůŽŶŐƌĞĂůƚǇΗ
     ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϰϭϱ ;ŚĂƌůŽƚƚĞǁͬϮD>^Ϳ

 ϰϭϲ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬEtD>^
     ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;Η^ƚ͘
 ϰϭϳ >ŽƵŝƐΗǁͬϮD>^Ϳ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϭϴ ǁͬϮϬΗZĞĂů>ŝǀŝŶŐΗ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϰϭϵ ĂƌŽůŝŶĂƐƌĞĂůƚǇ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϰϮϬ &ŽŶǀŝůůĞ
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     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϰϮϭ ǁͬϮϬΗĂƌŽůŝŶĂƐƌĞĂůƚǇΗ

     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 ϰϮϮ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬEĞŝŐŚďŽƌĐŝƚǇ
     ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
     ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
     ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
     ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 ϰϮϯ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬhƉŶĞƐƚΎ
     ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬƵƐƚŝŶ
 ϰϮϰ D>^

 ϰϮϱ ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ^t&>Ύ
      ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;Η<ĂŶƐĂƐ
 ϰϮϲ ŝƚǇΗǁͬϮD>^Ϳ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϮϳ ǁͬϮϬΗzŽƌŬƐŝŵƉƐŽŶΗ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬzŽƌŬ
 ϰϮϴ ƐŝŵƉƐŽŶ
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϰϮϵ ǁͬϮϬzŽƌŬƐŝŵƉƐŽŶ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϰϯϬ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬĂƌŽůŝŶĂƐƌĞĂůƚǇ
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     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϰϯϭ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬZĞĞĐĞEŝĐŚŽůƐ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϰϯϮ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ<ĞŶƚǁŽŽĚ
     ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;ΗWŝŬĞƐ
 ϰϯϯ WĞĂŬΗǁͬϮD>^Ϳ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϯϰ ǁͬϮϬΗŝƚŝ,ĂďŝƚĂƚƐΗ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϯϱ ǁͬϮϬΗZĞĞĐĞEŝĐŚŽůƐΗ
     ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
     ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
     ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
     ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϰϯϲ sŝƌŐŝŶŝĂƉƌŽƉĞƌƚŝĞƐ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϰϯϳ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬŝƚŝ,ĂďŝƚĂƚƐ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϰϯϴ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬĚĂǀĞƉĞƌƌǇ
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     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϰϯϵ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬƉĞƌƌǇͲŵŝůůĞƌ

       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϰϰϬ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬƉĞƌƌǇŵŝůůĞƌ
       ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
       ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
       ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
       ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 ϰϰϭ   ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬ^ƵƌĞĨŝĞůĚ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;^ƵƐƐĞǆ
 ϰϰϮ   ǁͬϮD>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϰϰϯ   EŽƌƚŚǁĞƐƚDƵůƚŝƉůĞ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;/ůůŝŶŽŝƐ
 ϰϰϰ   ǁͬϮD>^Ϳ
 ϰϰϱ   ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ^DZ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϰϰϲ   ;ŽůƵŵďŝĂǁͬϮD>^Ϳ

       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϰϳ   ǁͬϮϬΗZĞŐŝŽŶΎ^ĞƌǀŝĐĞΎΗ
       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϰϴ   ǁͬϮϬZ^/
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϰϵ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱ>ŝƐƚǁŝƚŚĐůĞǀĞƌΎ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗďƌŽŬĞƌ
 ϰϱϬ   ĞŶŐĂŐĞŵĞŶƚĐŽŵŵŝƚƚĞĞΗ
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       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϰϱϭ   ǁͬϮϬsŝƌŐŝŶŝĂƉƌŽƉĞƌƚŝĞƐ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϰϱϮ   ǁͬϮϬĚĂǀĞƉĞƌƌǇ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϰϱϯ   ǁͬϮϬƉĞƌƌǇͲŵŝůůĞƌ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϰϱϰ   ǁͬϮϬƉĞƌƌǇŵŝůůĞƌ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϰϱϱ   ǁͬϮϬƵǇŚŽŵĞƐ͘ĐŽŵ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϰϱϲ   ǁͬϮϬ^ƵƌĞĨŝĞůĚ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϰϱϳ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ&ŽŶǀŝůůĞ
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       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϰϱϴ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ^ƵƌĞĨŝĞůĚ
 ϰϱϵ   ŽŵŵŝƐƐŝŽŶΎǁͬϭϬŐĂŵĞǁͬϮĐŚĂŶŐĞΎ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;Η^ĂŶ
 ϰϲϬ   ŶƚŽŶŝŽΗǁͬϮD>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϰϲϭ   &'D>^Ύ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;Η&ůŽƌŝĚĂ
 ϰϲϮ   'ƵůĨΗǁͬϯD>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;ĂŶŽƉǇ
 ϰϲϯ   ǁͬϮD>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϰϲϰ   ;ƵŵďĞƌůĂŶĚǁͬϰKZͿ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;;Η<Η
 ϰϲϱ   KZΗ<ΗͿǁͬϮD>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;Η^ĂŝŶƚ
 ϰϲϲ   >ŽƵŝƐΗǁͬϮD>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ;^ƚůǁͬϮ
 ϰϲϳ   D>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϰϲϴ   ŵŝĚĂŵĞƌŝĐĂ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϰϲϵ   ;^ƉƌŝŶŐĨŝĞůĚǁͬϮD>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϰϳϬ   ;ΗƐŽƵƚŚĞƌŶƌĞŐŝŽŶΎΗǁͬϭϱD>^Ϳ
       ;ŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿǁͬϱϬ
 ϰϳϭ   ĚǇŶĂŽŶŶĞĐƚŝŽŶƐ
       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϳϮ   ǁͬϮϬZĞͬDĂǆΎ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϳϯ ǁͬϮϬΗ&ŽǆΘƌŽĂĐŚΗ
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     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϳϰ ǁͬϮϬΗsŝƌŐŝŶŝĂƉƌŽƉĞƌƚŝĞƐΗ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϳϱ ǁͬϮϬΗĂƌŽůŝŶĂƐƌĞĂůƚǇΗ
     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϳϲ ǁͬϮϬ&ŽŶǀŝůůĞ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϳϳ ǁͬϮϬZĞĞĐĞEŝĐŚŽůƐ
     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϳϴ ǁͬϮϬ<ĞŶƚǁŽŽĚ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϳϵ ǁͬϮϬΗĂůůŝĞďĞƚŚΗ
     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϴϬ ǁͬϮϬůůŝĞďĞƚŚ
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     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϴϭ ǁͬϮϬΗĚĂǀĞƉĞƌƌǇΗ

     ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
     ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
     ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
     ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
     ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϴϮ ǁͬϮϬƉĞƌƌǇͲŵŝůůĞƌ

       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϴϯ   ǁͬϮϬΗƉĞƌƌǇŵŝůůĞƌΗ
       ;ΗEĂƚŝŽŶĂůĂƐƐŽĐŝĂƚŝŽŶΗŽƌEZŽƌ;ƐƐŽĐŝĂƚŝŽŶ
       ǁͬϮZĞĂůƚŽƌƐͿͿǁͬϮϬ;ƉĂƌƚŝĐŝƉĂƚΎŽƌĚŽŶĂƚΎŽƌ
       ĐŽŶƚƌŝďΎŽƌĂĐƚŝǀĞΎŽƌƐŚĂƉΎŽƌůĞĂĚΎŽƌĞŶĨŽƌĐΎ
       ŽƌĨŽůůŽǁΎŽƌĐŽŵƉůΎŽƌŝŵƉůĞŵĞŶƚΎŽƌũŽŝŶΎŽƌ
       ŵĞŵďĞƌΎŽƌĂďŝĚΎŽƌĂƚƚĞŶĚΎŽƌΗƚĂŬĞƉĂƌƚŝŶΗͿ
 ϰϴϰ   ǁͬϮϬ,^&Ύ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϴϱ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱ>ŝƐƚĨŽƌůĞƐƐ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϴϲ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱzŽƌĞĞǀŽ

       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϴϳ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱŚŽŵĞďƵǇĞƌĂĚǀŝƐŽƌƐ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϴϴ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱƐĐŚĂƚǌŐƌŽƵƉ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϴϵ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱƵǇƐĞůĨΎ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϵϬ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱhƉŶĞƐƚΎ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϵϭ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱ&ŽƌĞƐĂůĞďǇŽǁŶĞƌΎ
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       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϵϮ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱƵǇŚŽŵĞƐ͘ĐŽŵ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϵϯ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱƉĞŶŶǇďƌŽŬĞƌ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϵϰ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱũŽŚŶƉĞŶŶĞ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϵϱ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱ^ƵƌĞĨŝĞůĚ
       ;ƐŚĂƌĞΎŽƌŵĂƌŬĞƚŽƌƚƌĞŶĚΎŽƌƐƚƌĂƚĞŐǇΎŽƌĚĂƚĂ
       ŽƌƌĞƉŽƌƚΎŽƌĂŶĂůǇƐΎŽƌƐƚƵĚǇΎŽƌƐƚƵĚŝĞƐŽƌ
 ϰϵϲ   ƐƚĂƚŝƐƚŝĐΎͿǁͬϮϱƐƐŝƐƚϮƐĞůů
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗƐƚĂƚĞΘ
 ϰϵϳ   ůŽĐĂůŝƐƐƵĞƐΗ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗĨĞĚĞƌĂů
 ϰϵϴ   ůĞŐŝƐůĂƚŝŽŶΘƉŽůŝƚŝĐĂůΗ
       ;ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚŝŽŶΎͿĂŶĚΗďƌŽŬĞƌ
 ϰϵϵ   ĞŶŐĂŐĞŵĞŶƚĐŽƵŶĐŝůΗ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϱϬϬ   ZĞͬŵĂǆΎ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬŝƚŝ
 ϱϬϭ   ,ĂďŝƚĂƚƐ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ&Žǆ
 ϱϬϮ   ΘƌŽĂĐŚ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬĂůůŝĞ
 ϱϬϯ   ďĞƚŚ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϱϬϰ   ĂůůŝĞďĞƚŚ
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       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϱϬϱ   ĚĂǀĞƉĞƌƌǇ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϱϬϲ   ƉĞƌƌǇͲŵŝůůĞƌ
       ;ΗtŽƌŬƚŽŐĞƚŚĞƌΗŽƌĂůůǇŽƌĂůůŝĞƐŽƌĂůůŝĂŶĐĞΎŽƌ
       ΗǁŽƌŬǁŝƚŚΗŽƌĐŽůůĂďŽƌĂƚΎŽƌĐŽŶƐĞŶƐƵƐΎŽƌ
       ĚĞĐŝĚĞΎŽƌƐƚƌĂƚĞŐΎŽƌƉŽůŝĐǇŽƌĨŽůůŽǁΎŽƌ
       ŵŽƌĂƚŽƌŝƵŵΎŽƌƚĂĐŝƚŽƌƵŶĚĞƌƐƚĂŶĚΎͿǁͬϱϬ
 ϱϬϳ   ƉĞƌƌǇŵŝůůĞƌ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌŝŶĨŽƌŵΎŽƌ
       ůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌƌĞƐƚĂƵƌĂŶƚΎŽƌ
       ΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎŽƌΗƌĞĂĐŚŽƵƚΗ
       ŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎŽƌŵĞƐƐĂŐΎŽƌ
       ŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿǁͬϮϬ
 ϱϬϴ   ZĞͬDĂǆΎ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϬϵ   ǁͬϮϬŝƚŝ,ĂďŝƚĂƚƐ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϭϬ   ǁͬϮϬ&ŽǆΘƌŽĂĐŚ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϭϭ   ǁͬϮϬĂůůŝĞďĞƚŚ
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       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϭϮ   ǁͬϮϬůůŝĞďĞƚŚ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϭϯ   ǁͬϮϬ>ŝƐƚĨŽƌůĞƐƐ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϭϰ   ǁͬϮϬzŽƌĞĞǀŽ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϭϱ   ǁͬϮϬƐĐŚĂƚǌŐƌŽƵƉ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϭϲ   ǁͬϮϬƵǇƐĞůĨΎ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϭϳ   ǁͬϮϬ>ŝƐƚǁŝƚŚĐůĞǀĞƌΎ
       ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
       ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
       ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
       ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
       ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
       ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϭϴ   ǁͬϮϬhƉŶĞƐƚΎ
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     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϭϵ ǁͬϮϬ&ŽƌĞƐĂůĞďǇŽǁŶĞƌΎ
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϮϬ ǁͬϮϬƉĞŶŶǇďƌŽŬĞƌ
     ;DĞĞƚΎŽƌŵƚŐΎŽƌĚŝƐĐƵƐƐΎŽƌŐĂƚŚĞƌΎŽƌ
     ĐŽŶƐƵůƚΎŽƌĐŽŶĨĞƌΎŽƌĐŽŶƐƵůƚΎŽƌǀŝƐŝƚΎŽƌ
     ŝŶĨŽƌŵΎŽƌůƵŶĐŚΎŽƌĚŝŶŶĞƌΎŽƌĚƌŝŶŬΎŽƌ
     ƌĞƐƚĂƵƌĂŶƚΎŽƌΗŐĞƚƚŽŐĞƚŚĞƌΗŽƌĐŚĂƚΎŽƌƚĂůŬΎ
     ŽƌΗƌĞĂĐŚŽƵƚΗŽƌĂƐŬΎŽƌĐŽŵŵƵŶŝĐĂƚΎŽƌƚĞǆƚΎ
     ŽƌŵĞƐƐĂŐΎŽƌŵƐŐΎŽƌďƌĞĂŬĨĂƐƚΎŽƌĨůǇΎŽƌũĞƚΎͿ
 ϱϮϭ ǁͬϮϬũŽŚŶƉĞŶŶĞ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϮϮ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬZĞͬDĂǆΎ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϮϯ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ&ŽǆΘƌŽĂĐŚ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϮϰ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬsŝƌŐŝŶŝĂƉƌŽƉĞƌƚŝĞƐ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϮϱ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬzŽƌŬƐŝŵƉƐŽŶ
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     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϮϲ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬĂůůŝĞďĞƚŚ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϮϳ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬůůŝĞďĞƚŚ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
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     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϮϴ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ>ŝƐƚĨŽƌůĞƐƐ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
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     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϮϵ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬzŽƌĞĞǀŽ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
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     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϯϬ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬƐĐŚĂƚǌŐƌŽƵƉ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϯϭ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬƵǇƐĞůĨΎ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϯϮ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ>ŝƐƚǁŝƚŚĐůĞǀĞƌΎ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϯϯ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬhƉŶĞƐƚΎ
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     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϯϰ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬ&ŽƌĞƐĂůĞďǇŽǁŶĞƌΎ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϯϱ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬƵǇŚŽŵĞƐ͘ĐŽŵ

     ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
     ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
     ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
     ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϯϲ ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬƉĞŶŶǇďƌŽŬĞƌ

       ;ĨƌŝĞŶĚΎŽƌŶŽƚĞΎŽƌŵŝŶƵƚĞΎŽƌĐŚĞĐŬΎŽƌ
       ĐŽŶĨŝƌŵΎŽƌĐĂůůΎŽƌĞŵĂŝůΎŽƌŐŽůĨΎŽƌĂŐƌĞĞΎŽƌ
       ĐŽůůƵΎŽƌĐŽŵƉĞƚΎŽƌƉƌŽŵŝƐĞΎŽƌΗǁŽƌŬ
       ƚŽŐĞƚŚĞƌΗŽƌĐŽŽƌĚŝŶĂƚΎŽƌƵŶĚĞƌƐƚĂŶĚΎŽƌĚĞĂůΎ
 ϱϯϳ   ŽƌŚĂƌŵŽŶΎŽƌĂƌƌĂŶŐΎͿǁͬϮϬũŽŚŶƉĞŶŶĞ
       ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
       ƐŚŝĞůĚΎŽƌďĂƌƌŝĞƌΎŽƌĐƌƵƐŚΎŽƌĚĞƐƚƌŽǇΎŽƌŬŝůůΎ
       ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
       ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
 ϱϯϴ   ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬ,ĞůƉƵƐĞůů
       ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
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       ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
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       ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
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       ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
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       ;/ŵƉĞĚΎŽƌƉƌĞǀĞŶƚΎŽƌůŝŵŝƚΎŽƌƌĞƐƚƌĂŝŶΎŽƌ
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       ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
       ĐŽŵŵŝƐƐŝŽŶΎŽƌĐŽŵƉĞŶƐĂƚΎŽƌƐƚƌĂƚĞŐΎŽƌ
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       ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
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       ŽƌƚŚƌĞĂƚΎŽƌĚŝƐĐŽƵƌĂΎŽƌďŽǇĐŽƚƚΎŽƌ
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 ϱϰϴ ĞǆĐůƵΎŽƌĚĞĨĞĂƚΎŽƌƚŚƌĞĂƚΎͿǁͬϭϬũŽŚŶƉĞŶŶĞ
     ΗĐůĞĂƌĐŽŽƉĞƌĂƚŝŽŶΗǁͬϯϬ;D>^ŽƌΗDƵůƚŝƉůĞ
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